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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,

                        v.                                    Case No. 23 Cr. 16 (JHR)

 SERGEY SHESTAKOV,

                             Defendant.



              REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE
                            (LETTER ROGATORY)

To the Appropriate Judicial Authority of the United Arab Emirates:

       The United States District “Court” for the Southern District of New York presents its

compliments to the appropriate judicial authority of the United Arab Emirates and requests

international judicial assistance to obtain evidence to be used in a criminal proceeding before this

court in the above-captioned matter (the “Action”). A trial on this Action is scheduled to

commence on June 17, 2025 in New York, New York, United States of America.

       This Court requests the assistance described herein as necessary in the interests of justice.

This assistance requested is that the appropriate judicial authority of the United Arab Emirates

allow the deposition of Russian national Evgeny Fokin, who has indicated his voluntary consent

to give oral testimony in the United Arab Emirates to be used in Action, and to do so via live

testimony and/or videoconference at an agreed-upon location.

                                          Facts of the Case

   A. The Government’s Allegations

       Via “Indictment,” the United States “Government” has charged Sergey Shestakov with the

following five counts (i) conspiracy to violate the International Emergency Economic Powers Act


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(“IEEPA”); (ii) violating IEEPA; (iii) conspiracy to commit money laundering; (iv) money

laundering; and (v) false statements.

        The Government alleges that Mr. Shestakov and Charles McGonigal violated IEEPA by

working for the benefit of Oleg Deripaska, a person designated as a Specially Designated National,

and thus subject to sanctions by the United States. Specifically, the Government alleges that in

2021, Mr. Deripaska’s agent, Evgeny Fokin, the current Director of International Cooperation at

EN+ Group, contracted via a United States-based company for Mr. Shestakov and Mr. McGonigal

to provide business intelligence research for Mr. Deripaska in violation of IEEPA.

        The Government further alleges that Mr. Shestakov and Mr. McGonigal disguised the

proceeds from the business intelligence work to hide its illegal nature and Mr. Shestakov made

false statements to law enforcement agents regarding his and Mr. McGonigal’s relationship with

Mr. Fokin.

    B. Mr. Fokin’s Anticipated Testimony

        Mr. Fokin’s anticipated testimony is expected to be consistent with statements he made to

United States Department of Homeland Security Customs and Border Patrol agents in August

2021, and recently affirmed in or about July 2024 to attorneys for EN+. In 2021 and in 2024, Mr.

Fokin stated that the business intelligence research at issue in the Indictment was done, not on

behalf of Oleg Deripaska, but on behalf of Mr. Fokin’s employer EN+ and/or its subsidiary United

Company Rusal (“Rusal”). 1 In December 2024, Mr. Fokin’s counsel confirmed that Mr. Fokin’s

anticipated testimony would be consistent with his prior statements.




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 In 2019, the United States lifted sanctions on EN+. Press Release, U.S. Dept. Of The Treasury, OFAC Delists En+,
Rusal, and EuroSibEnergo (Jan. 27, 2019), https://home.treasury.gov/news/press-releases/sm592.


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       Mr. Shestakov asserts that Mr. Fokin commissioned this research to be done for his

employer, EN+, in connection with a business dispute that EN+ and Rusal were having with

Vladimir Potanin, the CEO of the Russian company Norilsk Nickel, in which EN+ and Rusal had

a significant financial interest. Specifically, EN+ and Rusal were concerned that Mr. Potanin was

mismanaging and misusing Norilsk Nickel assets for his personal benefit at the expense of

shareholders.

       In its decision on Mr. Shestakov’s motion to take Mr. Fokin’s deposition, this Court found

that Mr. Fokin’s “testimony would be highly relevant to a central issue in the case and is therefore

material.”

                       Evidence Sought from the United Arab Emirates

       Mr. Fokin, through his counsel, has indicated that Mr. Fokin is willing to voluntarily

provide sworn testimony via deposition in this Action in the United Arab Emirates at an agreed-

upon location, for said deposition to occur via live testimony and/or videoconference, with defense

counsel and Government counsel present with Mr. Fokin. Mr. Fokin’s deposition would be

recorded by video and court reporter, creating both video and written records of his testimony.

       Mr. Fokin is willing to be placed under oath by a United States of America Consulate

Official during the deposition. The United States Federal Rules of Evidence will govern the

admission of and use of evidence during the oral testimony. Upon completion of the testimony,

any exhibits, transcripts, videos, documents produced, or other information relating to the oral

testimony will be sealed and transmitted by a United States Consular official to the Clerk of the

United States District Court for the Southern District of New York.




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                                Reciprocity and Reimbursement

       This Court appreciates your consideration of and assistance with this request for

international judicial assistance and is willing to provide similar assistance to judicial authorities

of the United Arab Emirates.

       Mr. Shestakov is willing to reimburse the judicial authorities of the United Arab Emirates

for costs incurred in executing this Court’s Letter Rogatory.

       WE THEREFORE REQUEST that in the interest of justice, you cause, by your proper and

usual process, Evgeny Fokin to give testimony under oath by question and answers upon oral

examination, such examination to continue from day to day until complete, in Dubai, United Arab

Emirates

       WE FURTHER REQUEST that you cause said oral examination to be reduced to video

recording and to writing, and that such files, books, papers, or other articles that said witness may

identify at the oral examination be marked as exhibits and attested, and that you cause these to be

returned to us through the nearest United States Consular Officer under cover duly sealed and

addressed to the Clerk of the United States District Court for the Southern District of New York,

United States of America, and we shall be ready and willing to do the same for you in a similar

case, when required.



Dated: New York, New York
       February __, 2025


                                                      The Honorable Jennifer H. Rearden
                                                      United States District Judge




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